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D
UNITED STATES DISTRICT COURT JUDGE SCHOFIEL

SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

UNITED STATES OF AMERICA INFORMATION
¥. 23
TREVOR GORDON,
Defendant. I USE C SDNY a
DOCUMENT
COUNT ONE | BLECERONICALLY FILED

(Wire Fraud)

 

The United States Attorney charges:

 

1. From at least in or about March 2021 through at least in or about June 2021, in the
Southern District of New York and elsewhere, TREVOR GORDON, the defendant, knowingly
having devised and intending to devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses, representations, and promises, transmitted
and caused to be transmitted by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing
such scheme and artifice, to wit, GORDON engaged in a scheme to obtain funds from the United
States Small Business Administration (“SBA”) and two financial institutions through the SBA’s
Paycheck Protection Program by submitting false and fraudulent loan applications.

(Title 18, United States Code, Sections 1343 and 2.)

FORFEITURE ALLEGATION
2, As a result of committing the offense alleged in Count One of this Information,
TREVOR GORDON, the defendant, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 981(a)(1)(C) and Title 28 United States Code, Section 2461(c), any and all

property, real and personal, that constitutes or is derived from proceeds traceable to the
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commission of said offense, including but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission of said offense.

Substitute Assets Provision

3. If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b, has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d, has been substantially diminished in value; or

€. has been commingled with other property which cannot be subdivided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

DAMIAN WILLIAMS
United States Attorney

 
